                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

GERMMA HAMMOND, on behalf of                       )
himself and all others similarly situated,         )
                                                   ) Case No: 3:19-cv-1099
  Plaintiff,                                       )
                                                   ) JURY TRIAL DEMANDED
                                                   )
                                                   )
 v.                                                  Collective Action
                                                   )
                                                   )
 FLOOR AND DECOR OUTLETS OF                        )
 AMERICA, INC.,                                    )
                                                   )
      Defendant.


                     ORDER APPROVING FAIR LABOR STANDARDS ACT
                          COLLECTIVE ACTION SETTLEMENT

          The above-entitled matter came before the Court on Plaintiff’s Unopposed Motion for

 Approval of Collective Action Settlement under the Fair Labor Standards Act (the “FLSA”)

 (“Approval Motion”) and to dismiss the action with prejudice. It is hereby ORDERED and

 ADJUDGED as follows:

          1.       All defined terms contained herein shall have the same meaning as set forth in the

 Joint Stipulation of Collective Action Settlement and Release (the “Stipulation” or

 “Agreement”), unless otherwise stated in this Approval Order.

          2.       The Approval Motion is GRANTED, as the Parties’ Collective Action Settlement

 is a fair, reasonable, and just resolution of a bona fide dispute.

          3.       The Court has subject matter jurisdiction to approve the Agreement, including all

 Exhibits thereto, and to enter this Approval Order and judgment. Without in any way affecting

 the finality of this Approval Order and judgment, this Court hereby retains jurisdiction as to all



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matters relating to administration, consummation, enforcement, and interpretation of the

Agreement and of this Approval Order, and for any other necessary purpose.

       4.       The Court approves the parties’ Settlement Agreement, “so orders” all of its

terms, and approves the Notice attached to the Agreement.

       5.       This judgment shall be binding on all Plaintiffs who shall be deemed to have

conclusively released their Released Claims against the Defendant and Released Parties.

       6.       The Court approves the Service Payment for Germma Hammond.

       7.       The Court grants Plaintiffs’ request for attorneys’ fees and out-of-pocket costs

and expenses.

       8.       The Court approves Rust Consulting, Inc. as the Settlement Administrator.

       9.       The action is hereby dismissed with prejudice.

       10.      The Parties are hereby directed to implement and consummate the Settlement

Agreement according to its terms and provisions. Without further order of the Court, the Parties

may agree to reasonably necessary extensions of time to carry out any of the provisions of the

Settlement Agreement.


                                       ALETA A. TRAUGER
                                       U.S. DISTRICT JUDGE




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